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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

                                     )
UNITED STATES OF AMERICA,            )
                                     )
                                     )
            v.                       )   CRIMINAL ACTION
                                     )   NO. 10-10067-WGY
CRAIG SPARKS,                        )
                                     )
                                     )
            Defendant.               )
                                     )


                              MEMORANDUM
YOUNG, D.J.                                           November 10, 2010


I.   Factual Background

     A.     Facts Relating to the Charge of Armed Bank Robbery

     On January 4, 2010, at approximately 12:24 p.m., two white

males robbed a Bank of America branch(“Bank”) located in Waltham,

Massachusetts.     Gov’t Jan. 22 Aff. ¶ 5.   Both robbers wore ski

masks, dark-colored hooded sweatshirts, and brandished what

appeared to be handguns.     Id.   The robbers approached tellers,

demanded money, and fled with approximately $10,676.00 in U.S.

currency.    Id.   A witness outside the bank observed the robbers

enter a red sports utility vehicle and flee the area.         Id.

     Meanwhile, on this same day, approximately ten minutes

earlier (at around 12:15 p.m.) Special Agents from the Federal

Bureau of Investigation (“FBI”) initiated surveillance on a black

Chrysler which was parked on a public street in Waltham.         Id. ¶
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6.   The vehicle was registered to the defendant Craig Sparks’s

mother, but was primarily used by Sparks himself.             Id.   The

vehicle was located through a Global Positioning System (“GPS”)

device that had previously been affixed to the external

undercarriage of the vehicle.1          At the time the Agents initiated

surveillance, the engine of the vehicle was running but no one

was in, or near, the vehicle.           Id.   The vehicle was parked

roughly two blocks away from the Bank.            Id.

     Approximately ten minutes after surveillance of the Chrysler

was initiated, Agents found themselves in the most fortuitous of

positions – they observed a red Jeep Cherokee approach at a high

rate of speed and pull into a driveway across from the Chrysler.

They watched two individuals wearing dark-colored hooded

sweatshirts get out of the Jeep, run across the street, enter the

Chrysler, and drive off.         Id.    One of the individuals was

carrying a dark-colored bag.           Id.

     After observing the switch from “getaway car” to “clean

car,” and learning of the bank robbery several minutes later, the

investigators attempted to follow the Chrysler but lost visual

contact shortly after it drove away.            Id. ¶ 8.   Using the GPS,

visual surveillance of the Chrysler was reacquired on northbound

Interstate 95.       Id.   Shortly thereafter, a Massachusetts State

Police cruiser initiated a traffic stop of the vehicle with FBI



      1
          Facts regarding the GPS device are detailed infra.
                                   2
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agents directly behind.        Id.   As the Chrysler entered the

breakdown lane the driver slammed on the brakes and drove the

vehicle into a ditch alongside Interstate 95.           Id.   Two white

males jumped from the Chrysler and fled into the woods along the

Interstate.      Id.   Special Agents pursued the men but the suspects

evaded immediate capture.        Id.   A number of state, local, and

federal law enforcement officers joined the search.            Id.

     In the snowy woods through which the two men had fled,

investigators found $1,381 in United States currency and a

backpack containing clothing, including two hooded sweatshirts.

Id. ¶ 11.     One suspect, identified as Benjamin Michaud, was

apprehended sometime after 1:00 p.m. in Lincoln, Massachusetts

with $9,284 in United States currency wrapped in money bands from

the bank where the robbery had occurred.2          Id. ¶ 9.

     During a safety sweep of the abandoned Chrysler, two BB

guns, which looked like the weapons used in the bank robbery,

were located on the floor of the front passenger seat.             Id. ¶ 12.

After obtaining a search warrant, investigators impounded and

thoroughly searched the Chrysler.         They found, inter alia,

footwear consistent in appearance with those worn by the robbers,

a cell phone with the battery removed, a knife, a dagger, two

white gloves turned inside out as if they had been worn and




     2
       Michaud was charged with armed bank robbery and, on
October 20, 2010, proffered a conditional guilty plea.
                                3
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removed, a screwdriver, and Sparks’s wallet, containing several

pieces of his identification.         Id. ¶ 12-13.

     Investigators also examined information from the GPS device

that was affixed to the vehicle.         Id. ¶ 14.     The GPS data

indicated that the Chrysler was in the area of Sparks’s apartment

on the morning of January 4, 2010; that the Chrysler traveled to

Charlestown, Massachusetts and moved around to various locations

in Charlestown for approximately 30 minutes;3 and that the

vehicle then traveled to Waltham, ending up on the street where

Agents initially observed it.         Id.

     Based on the above evidence, and more, the defendant Sparks

was arrested for the bank robbery on February 16, 2010, in Maine,

and transferred to Massachusetts on February 23, 2010.

     B.      Facts Relating to the Global Positioning System

     The GPS device was able to provide information as to its

location in “real time” and to record its location as the

Chrysler moved from place to place.          Gov’t Sept. 16 Aff. ¶ 3.        It

did so by communicating with satellites to get a “fix” on its

position and then connecting with a service provider.             Id.     FBI

Agents working the case were able to log onto a website and

obtain information as to the location of the GPS device, and thus

the vehicle, as it was moving.         Id.   This information was also

stored and accessible for later review.          Id.


     3
       The “getaway” Jeep was determined to have been stolen in
Charlestown, Massachusetts. Gov’t Jan. 22 Aff. ¶ 14.
                                4
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      The GPS device ran on its own battery for power, and drew no

power from the Chrysler itself.         Id. ¶ 3.   The original power

supply failed and so, on December 28, 2009, the FBI replaced the

battery, and reaffixed the GPS device.         Id.   The GPS device was

attached and reattached without a warrant.           Def.’s Mem. 4, n.1.

      At the time the GPS device was first attached to Sparks’s

vehicle on December 24, 2009, the FBI suspected that Sparks had

committed three armed bank robberies in Massachusetts in the

preceding three months.     Gov’t Sept. 16 Aff. ¶ 2.       Believing that

Sparks would commit further robberies, and having seen Sparks

driving the Chrysler, the FBI decided to place the GPS device on

this vehicle.    Id.   The GPS device was affixed between 2:00 a.m.

and 4:00 a.m., eleven days prior to the date of the bank robbery.

At oral argument, the government conceded that at the time agents

placed the GPS device on the vehicle it was parked in a private

open-air parking lot used by the tenants of two, separate, multi-

unit residential buildings.     Tr. Mot. Suppress 7.       Sparks rented

an apartment in one of these buildings at the time.          The street

that the apartment building and parking lot were on was a private

street.

II.   ANALYSIS

      The defendant, Craig Sparks, moved to suppress evidence

obtained following the placement of the GPS device on his




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vehicle.4     Sparks argued for application of the exclusionary rule

based on violations of his First5 and Fourth Amendment rights.

     A.      General Fourth Amendment Standard

     The Fourth Amendment secures the right of an individual “to

be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures” and provides that this right

“shall not be violated, and no warrants shall issue, but upon

probable cause, supported by oath or affirmation, and

particularly describing the place to be searched, and the persons

or things to be seized.”        U.S. Const. amend. IV.      Although the

Fourth Amendment protects against certain governmental

intrusions, it has never been held to provide a generalized right

to privacy.      See Katz v. United States, 389 U.S. 347, 350 (1967).

Instead, constitutional protections attach only when the

governmental “search” or “seizure” implicates a constitutionally

protected interest.6       United States v. Dionisio, 410 U.S. 1, 15

     4
       At the time Michaud conditionally pleaded guilty he also
moved to join this motion to suppress. The Court allowed Michaud
to join the motion but did not hear argument as to Michaud. The
Court notes without deciding, however, that as a temporary
passenger in Sparks’s vehicle, Michaud stands in a significantly
worse position than Sparks as a challenger to the legality of the
GPS device.
     5
       Sparks’s argument that the evidence must be excluded
because the government violated his First Amendment right to free
association is without merit. The exclusionary rule is a
judicial remedy for violations of the Fourth Amendment, not the
First Amendment. See Mapp v. Ohio, 367 U.S. 643, 655-66 (1961).
     6
       A search occurs when a state actor infringes upon an
expectation of privacy society considers reasonable. A seizure
occurs when the state interferes with an individual’s possessory
                                6
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(1973).   Sparks bears the burden of establishing this protected

interest by demonstrating that he maintained a legitimate

expectation of privacy in the place searched.       United States v.

Thornley, 707 F.2d 622, 624 (1st Cir. 1993).       The modern test for

analyzing the expectation question, as articulated in Justice

Harlan’s concurrence in Katz, is a two-part inquiry: first,

whether the defendant has exhibited an actual, subjective,

expectation of privacy; and second, whether such subjective

expectation is one which society is willing to recognize as

objectively reasonable.     389 U.S. at 361 (Harlan, J.,

concurring).

     If the government intrudes upon a reasonable expectation of

privacy without a warrant, the invasion is presumptively

unconstitutional.     Likewise, if no reasonable expectation of

privacy is infringed, the government action does not implicate

the Fourth Amendment.     The two-prong Katz analysis, therefore,

presents a threshold determination that must be satisfied before

inquiry into the constitutionality of a search or seizure is

required.   See id.




interest in property or freedom of personal movement. It is,
however, practically irrelevant “whether a particular
governmental intrusion is classified as a ‘search’ or as a
‘seizure.’ What matters is whether it violates an individual's
legitimate expectation of privacy. Therefore, it is not
necessary to speculate whether [the government’s action]
‘searches’ or ‘seizes’ anything.” United States v. Bailey, 628
F.2d 938, 940 (6th Cir. 1980).
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     B.   Reasonable Expectation of Privacy

     In analyzing the expectation of privacy in this case there

are two main issues before the Court: (1) whether the

installation of the GPS device on the Chrysler infringes upon any

reasonable expectation of privacy, and (2) whether monitoring the

location of the GPS device, and thus the vehicle, infringes upon

any reasonable expectation of privacy.

          1.     Installation of the GPS

     Regarding the first issue – the installation of the GPS

device – it is argued that there are two privacy interests

potentially at stake: an interest in the private parking lot in

which the vehicle was parked and an interest in the exterior of

the vehicle.

                 a.   Private Parking Lot

     The parking lot in which Sparks’s car was parked and the

adjoining street were private property.      Unfortunately for

Sparks, notions of property law are only marginally relevant to

this Court’s Fourth Amendment analysis.      See United States v.

Cruz Pagan, 537 F.2d 554, 558 (1st Cir. 1976) (“Whether or not

the agents’ entry was a technical trespass is not the relevant

inquiry.”).    Instead, the focus of this Court’s inquiry must be

on expectations of privacy.    What’s more, even though these areas

were private, they were not private property owned by the




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defendant.      Any trespass7 committed by the police was a trespass

against the owner of the residential building (who is not before

this Court), and not against Sparks.          See Commonwealth v. Thomas,

358 Mass. 771, 774 (1971) (Cutter, J.).

     Trespass aside, the FBI Special Agents did not invade any

constitutionally protected area within Sparks’s dwelling or

curtilage.      It is without question that private residences are

entitled to the utmost protection from governmental intrusion.

United States v. Karo, 468 U.S 705, 714 (1984).            There is also

space surrounding the home, the so-called curtilage, that is so

intimately tied to the home that it ought be placed under the

umbrella of protection afforded the home.           United States v. Dunn,

480 U.S. 294, 300 (1987).        Because the Fourth Amendment “protects

people, not places,” the courts have tended to de-emphasize

physical boundaries and have focused instead on whether the area

intruded upon provided any privacy associated with the home.              See

Katz, 389 U.S. at 351; see also Oliver v. United States, 466 U.S.

170, 180 (1984) (noting that the curtilage analysis hinges on

whether the area harbors “intimate activity associated with the

‘sanctity of a man’s home and the privacies of life.’” (quoting

Boyd v. United States, 116 U.S. 616, 630 (1886))).            To guide this

inquiry, the Supreme Court has established a four-factor test:

(1)the proximity of the area claimed to be curtilage to the home;


     7
       As the issue was not presented, this Court makes no
findings as to whether a trespass occurred.
                                9
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(2) whether the area is included within an enclosure surrounding

the home; (3) the nature of the uses to which the area is put;

(4) the steps taken by the resident to protect the area from

observation by people passing by.       Dunn, 480 U.S. at 301.

     Under factual circumstances strikingly similar to those

before this Court, the Ninth Circuit applied the four-factor test

to a parking area used by residents and guests, located between

two apartment buildings, and ruled the area was excluded from the

defendant’s curtilage.    United States v. Soliz, 129 F.3d 499, 503

(9th Cir. 1997), overruled on different grounds by, United States

v. Johnson, 256 F.3d 895 (9th Cir. 2001).       The Ninth Circuit

stated that although the parking area was adjacent to the

residence, and there was a fence surrounding the property, the

fence did nothing to prevent outside observation of the lot, and

there was no evidence that the area was used for anything other

than the “mundane, open and notorious activity of parking.”            Id.

at 502-04.

     The parking area in which Sparks parked the Chrysler

similarly must be excluded from the curtilage of his rented

apartment.   Although the parking lot sat in close proximity to

his apartment building, the remaining three factors weigh against

a ruling of curtilage.    The parking area was in no way bounded or

enclosed, and it has not been alleged that the lot was used for

anything other than parking.     Further, the only attempts to keep

the area protected were two “Private Property No Trespass” signs,
                                   10
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one affixed to a fence beyond Sparks’s apartment building and the

other posted on the facade of the neighboring apartment building.

Gov’t Sept. 16 Aff. ¶ 4.    As there is no indication that the lot

was used for private activities, nor did it provide any actual

privacy, the Fourth Amendment will not be extended to protect its

contents.    See United States v. Pineda-Moreno, 591 F.3d 1212,

1215 (9th Cir. 2010) (no reasonable expectation of privacy in

driveway, regardless of whether it was within the curtilage,

because the area was only “semi-private” (quoting United States

v. Magana, 512 F. 2d 1169, 1171 (9th Cir. 1998) (internal

quotation marks omitted)); see also Thomas, 358 Mass. at 774-75

(“In a modern urban multifamily apartment house, the area within

the ‘curtilage’ is necessarily much more limited . . . .          [A]

tenant's ‘dwelling’ cannot reasonably be said to extend beyond

his own apartment and perhaps any separate areas subject to his

exclusive control.”).

     Moreover, as a tenant, Sparks may allege no reasonable

expectation of privacy in the lot or street because these were

common areas, available for the shared benefit of the residents.

“[I]t is now beyond cavil in this circuit that a tenant lacks a

reasonable expectation of privacy in common areas of an apartment

building.”    United States v. Rheault, 561 F.3d 55, 59 (1st Cir.

2009) (quoting United States v. Hawkins, 139 F.3d 29, 32 (1st

Cir. 1998) (internal quotation marks omitted)) (deciding that

there is no objectively reasonable expectation of privacy in the
                                   11
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third-floor landing of an apartment building, especially for a

second-floor tenant); Hawkins, 139 F.3d at 32-33 (ruling that no

reasonable expectation of privacy existed in the unenclosed areas

of the building’s basement where storage compartments assigned to

each tenant were located); Cruz Pagan, 537 F.2d at 558 (holding

that a person has no reasonable expectation of privacy in a

common parking garage of an apartment building).

     Common areas are open to all residents and those whom they

may invite.   No one tenant has the right to exclude others from

using the area, and, therefore, no reasonable person would think

that he could store private items in the common area and be free

of public scrutiny.    Rheault, 561 F.3d at 61.      There can be no

reasonable expectation of privacy, then, in the open-air, shared,

lot in which Sparks’s parked the Chrysler.

                b.    Exterior of the Vehicle

     Having established that Sparks did not have a reasonable

expectation of privacy in the parking lot, this Court must now

decide whether he nonetheless maintained an expectation of

privacy in the exterior of his vehicle.

                           (1)   Subjective Expectation

     To begin, the analysis into subjective expectations turns on

whether the movant was “seek[ing] to preserve as private” the

area or item at issue.    Id. at 351.    Sparks apparently took no

efforts to protect or shield his vehicle from passersby nor did

he otherwise demonstrate or allege any subjective expectation of
                                   12
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privacy.   If Sparks sought to keep his vehicle private he could

have found an enclosed parking garage, covered his vehicle, or

otherwise removed it from public view.       Such efforts are

admittedly asking a lot of the movant; Sparks, however, is asking

a lot of this Court to protect that which he did not protect

himself.

                           (2)   Objectively Reasonable Expectation

     Even were this Court to conclude that Sparks maintained a

subjective expectation of privacy in the exterior of his vehicle,

this expectation is not one that society is willing to recognize

as reasonable.   The Supreme Court has been clear that motor

vehicles are entitled to a significantly diminished expectation

of privacy because their “function is transportation and [they]

seldom serve[] as one’s residence or as the repository of

personal effects.”   See Cardwell v. Lewis, 417 U.S. 583, 590

(1974).    More specifically, there is no reasonable expectation of

privacy in the exterior or undercarriage of a vehicle.         See New

York v. Class, 475 U.S. 106, 114 (1986) (“The exterior of a car,

of course, is thrust into the public eye, and thus to examine it

does not constitute a ‘search.’”); United States v. Rascon-Ortiz,

994 F.2d 749, 754 (10th Cir. 1993) (“The undercarriage is part of

the car’s exterior, and as such, is not afforded a reasonable

expectation of privacy.”).

     The minimal physical intrusion associated with affixing a

GPS device will not, standing alone, create a Fourth Amendment
                                   13
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violation.   See Cardwell, 417 U.S. 583 (no Fourth Amendment

unreasonable search or seizure in removing paint scrapings from a

parked car); United States v. Johnson, 431 F.2d 441 (5th Cir.

1970) (allowing police officer, without warrant, to open car door

to inspect vehicle identification number on inside panel).

“[One] may reasonably expect that strangers will leave his car

alone, but that is not an expectation of privacy; it is an

expectation of respect for one's property rights.”8        People v.

Weaver, 12 N.Y.3d 433, 450 (2009) (Smith, J., dissenting).             Thus,

although the idea of a government agent touching one’s vehicle

may raise eyebrows, it does not raise any cognizable

constitutional concerns.

     Because Sparks had no reasonable expectation of privacy

either in the shared parking lot or in the exterior of his

vehicle, the placement of the GPS device on the vehicle cannot be

considered a search or seizure.

          2.    Monitoring of the GPS

     Separate and distinct from any privacy interest in the

exterior of a motor vehicle or in a private parking lot is the

potential privacy interest in one’s movements in the vehicle.

The Supreme Court has held that “[a] person travelling [sic] in

     8
       Even this expectation of respect is tempered when we enter
the public sphere. One ought expect that a child may duck under
a parked vehicle to track an errant ball, or that the local
restaurant may place an advertising menu under the wiper blade.
These small intrusions may be bothersome, or even statutorily
proscribed, but are nonetheless an expected part of daily public
life.
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an automobile on public thoroughfares has no reasonable

expectation of privacy in his movements from one place to

another.”    United States v. Knotts, 460 U.S. 276, 281 (1983); see

also Katz, 389 U.S. at 351 (“What a person knowingly exposes to

the public . . . is not a subject of Fourth Amendment

protection.”).    It is true, as Sparks notes, that data obtained

from the device while within private residences would have to be

suppressed.    Karo, 468 U.S. at 714.    The government, however,

does not purport to rely on any information from the GPS while it

was located in constitutionally protected areas.        The relevant

uses of the GPS device were to locate the vehicle on a public

street in Waltham, and to reestablish visual surveillance on

Interstate 95.    The monitoring of the GPS device on Sparks’s

vehicle, therefore, does not implicate any privacy interests and

cannot be considered a search.     See id. at 721 (holding that

evidence need not be suppressed where the government used a

tracking device to monitor movement of vehicle as it traveled on

public streets).

     Sparks argues that, although society may not recognize the

privacy interests in single public trips, he does maintain a

reasonable expectation of privacy in the aggregate of his

travels.    The first rationale for this argument is essentially

that the whole of one’s movements during the course of

surveillance is not actually exposed to the public because the

likelihood that anyone will observe all those movements is
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essentially nil.    See United States v. Maynard, 615 F.3d 544,

565-66 (D.C. Cir. 2010).    The proper inquiry, however, is not

what a random stranger would actually or likely do, but rather

what he feasibly could.    See Smith v. Maryland, 442 U.S. 735, 745

(1979).

     Attempting to tie improbability to illegality is

inappropriate in light of several Supreme Court Fourth Amendment

decisions concerning new technology.      See United States v.

Jacobsen, 466 U.S. 109, 122 (1984) (“The concept of an interest

in privacy that society is prepared to recognize as reasonable

is, by its very nature, critically different from the mere

expectation, however well justified, that certain facts will not

come to the attention of the authorities.”); see also Orin S.

Kerr, Four Models of Fourth Amendment Protection, 60 Stan. L.

Rev. 503, 543 (2007) (explaining the various analytical

frameworks used by the Supreme Court to decide Fourth Amendment

cases).   Many citizens would think it unlikely that government

agents would rifle through their trash as it sits on the curb, or

rent an airplane solely to conduct aerial surveillance of their

residence, and yet these acts are firmly outside the reach of the

Fourth Amendment.    See California v. Greenwood, 486 U.S. 35

(1988); Ciraolo, 476 U.S. 207.     Moreover, with the proliferation

of private GPS use, and with media coverage of stories like the

use of GPS devices to track Scott Peterson in the aftermath of

his wife’s death, see Judge Allows GPS Evidence in Peterson Case,
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CNN.com, Feb. 17, 2004, http://www.cnn.com/2004/LAW/02/17/

peterson.trial/index.html, it is unconvincing to argue that

society is completely unaware of the power of these devices.

Rather than using a probabilistic approach to determine

reasonable expectations of privacy, in the context of

governmental use of new technologies, the Supreme Court

repeatedly has focused on whether the nature of the information

revealed is private and thus worthy of constitutional protection.

See Kerr, supra, at 512.    This Court, then, is not persuaded by

Sparks’s likelihood analysis.

     Sparks also argues that the aggregate of his travels became

something of a synergism – the whole of his movements being more

private than his individual travels.      Citing solely to a recent

decision from the U.S. Court of Appeals for the District of

Columbia Circuit, Sparks alleges that the longer the GPS was

placed on the car, the more his privacy was invaded because it

gave the government a wealth of information about his personal

preferences.   See Maynard, 615 F.3d at 558, 562 (“Prolonged

surveillance reveals types of information not revealed by

short-term surveillance, such as what a person does repeatedly,

what he does not do, and what he does ensemble. These types of

information can each reveal more about a person than does any

individual trip viewed in isolation.”); see also, April A.

Otterberg, Note, GPS Tracking Technology: The Case For Revisiting

Knotts and Shifting the Supreme Court’s Theory of the Public
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Space Under the Fourth Amendment, 46 B.C. L. Rev. 661, 685 n.171,

697-98 (2005) (urging courts to view the aggregation of one’s

travels, and the private details it reveals, as the new “private

space” under the Fourth Amendment and to require a warrant for

prolonged surveillance).

     While this may be factually true, it is legally

unconvincing.     Although the continuous monitoring may capture

quantitatively more information than brief stints of

surveillance, the type of information collected is qualitatively

the same.    Sparks’s aggregation argument against prolonged

surveillance, as supported by the court in Maynard, is also

practically unappealing.     The exclusionary remedy for Fourth

Amendment violations is a strong and blunt instrument.         See Kerr,

supra, at 527.     To avoid improper application of this strict

remedy it is important to provide the police with clear ex ante

rules.   Id.    The court in Maynard, however, leaves police

officers with a rule that is vague and unworkable.         It is unclear

when surveillance becomes so prolonged as to have crossed the

threshold and created this allegedly intrusive mosaic.         What’s

more, conduct that is initially constitutionally sound could

later be deemed impermissible if it becomes part of the

aggregate.     Finally, and as expounded upon infra, a rule

prohibiting prolonged GPS surveillance due to the quantity or

quality of information it accumulates would also incidentally

outlaw warrantless visual surveillance and this Court is
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unwilling, and unable, to extend the reach of the Fourth

Amendment that far.       See Knotts, 460 U.S. at 282-85.       Sparks’s

argument, then, that the aggregate of his travels are entitled to

more constitutional protection than his individual trips, must

fail.

             3.    Precedent

     This Court is persuaded that this case falls within the

ambit of the Supreme Court’s holding in Knotts that the

warrantless placement of a beeper tracking device inside a

chloroform container, which allowed police officers to follow the

defendant’s movements along public roads, did not violate the

Fourth Amendment because there was no reasonable expectation of

privacy in public travel.9       460 U.S. 276.

     Sparks asks this court to disregard Knotts by arguing that

modern GPS devices are so technologically advanced that they

cannot be compared to primitive beeper devices.           It is true that

the GPS device used here was highly sophisticated, allowing the

FBI accurately to locate Sparks’s vehicle from any computer, at

any time of the day or night, and to store a record of his

travels for the entirety of the eleven day period.10           This is

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      Sparks’s argument that the First Circuit’s decision in
United States v. Moore, 562 F.2d 106, 112 (1st Cir. 1977), is
controlling is unpersuasive. Moore’s 1977 holding that police
needed probable cause to install a beeper on a vehicle is no
longer good law following the Supreme Court’s 1983 holding in
Knotts.
     10
       This technology, however, is not the type of highly
sophisticated equipment that would require a warrant under Kyllo
                                19
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certainly more advanced than the relational “pings” of the

beepers of yesteryear.     A similar argument could have been made

regarding the telephone in 1880 and the video camera in 1950.

See Weaver, 12 N.Y.3d. at 448 (Smith, J., dissenting).

Undoubtedly, a quarter-century from now, the GPS device used in

this case will seem antiquated.

     Yet it is not the mere “newness” of technology that might

warrant reevaluation of Supreme Court precedent, but rather any

increased intrusion into zones of privacy.        As noted in Kyllo v.

United States, 533 U.S. 27, 34 (2001), if technology allows the

government to sidestep the warrant requirement by providing

access into otherwise protected areas, or to protected

information, it ought be considered an unreasonable search.             If,

however, the technology merely provides a replacement for an

activity that is not a search within the meaning of the Fourth

Amendment, then the use of technology does not render the

activity illegal.    See United States v. Garcia, 474 F.3d 994, 997

(7th Cir. 2007).

     Warrantless visual surveillance or “tailing” of Sparks

unquestionably would have been permissible and would have

revealed to the FBI all of the same details the GPS device




v. United States, 533 U.S. 27, 40 (2001).        GPS devices are widely
available to the public at large.

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provided,11 only at a much higher cost, and possibly at a higher

risk to law enforcement officers.12      Where the use of a tracking

device serves only as a technological substitute for an otherwise

legal activity, it must remain constitutionally sound.13         See

Knotts 460 U.S. at 284 (“[A] principal rationale for allowing

warrantless tracking of beepers, particularly beepers in or on an

auto, is that beepers are merely a more effective means of

observing what is already public.”); see also Pineda-Moreno, 591

F.3d at 1216.
     11
       In fact, visual surveillance would likely have revealed a
great deal more information than GPS surveillance alone.
Although the GPS device gives a detailed report of the vehicle’s
location at a given time it tells nothing about who was driving
the car, where the individual traveled once he has left the
vehicle, or what venues could be found at a particular location.
     12
      “GPS devices cost between a few hundred dollars and
perhaps $2,500, plus the minimal costs of monitoring. The U.S.
national average of having a private investigator tail a suspect
is $60 to $65 per hour. . . . Thus a one-person, sixteen-hour
tail would, on average cost at least $960.” John S. Ganz, It’s
Already Public: Why Federal Officers Should Not Need to Use GPS
Vehicle Tracking Devices, 95 J. Crim. L. & Criminology 1325, 1357
(2005). It is easy to see how the costs associated with any
long-term visual surveillance would quickly overwhelm law
enforcement resources.
     13
       It bears mentioning that here, the GPS device here was
used to reestablish visual contact once the Agents had initiated
pursuit. This arguably means that the use of the GPS technology
enabled police officers to do something that could not be done
with mere visual surveillance. The Supreme Court in Knotts,
however, expressly certified that such use of technology passed
constitutional muster. 460 U.S. at 285 (“Admittedly, because of
the failure of visual surveillance, the beeper enabled the law
enforcement officials in this case to ascertain the ultimate
resting place of the [object being tracked] when they would not
have been able to do so had they relied solely on their naked
eyes. But scientific enhancement of this sort raises no
constitutional issues which visual surveillance would not also
raise.”).
                               21
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     Nothing in the Fourth Amendment prohibits the police from

augmenting their sensory abilities.        Knotts, 460 U.S. at 282.

The Supreme Court has “never equated police efficiency with

unconstitutionality.”    Id. at 284; United States v. Michael, 645

F.2d 252, 259 (5th Cir. 1981) (Clark, J., concurring) (“Requiring

the fourth amendment’s warrant procedure to be used or excused

every time a policeman’s senses or abilities are mechanically or

electronically enhanced would diminish their usefulness

needlessly.”).   What’s more, adopting Sparks’s argument would

stymie police in their chase to catch up with the technical

sophistication of criminals.     Weaver, 12 N.Y.3d. at 448 (Smith,

J., dissenting).

     Officers routinely use highly sophisticated tools including

radios, street cameras, radar, helicopters, computers, quick-

access files of license tags and fingerprints, and microscopes in

the performance of their duties.        “[M]ost of these devices and

systems intrude into areas of citizens’ lives that were private

in the day of the deerstalker and magnifying glass” and yet they

are permissible today in order to facilitate efficient and

accurate law enforcement.     Michael, 645 F.2d at 259 (Clark, J.,

concurring).   The law ought embrace those technologies which

produce more accurate fact-finding.        Advances in technology, like

GPS devices, provide neutral and credible evidence and thus

facilitate the ultimate (and yet amorphous) goal of “justice.”



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      In the era of modern GPS devices, nearly every federal

court of appeals and district court to address this issue has

ruled that the government is not required to obtain a warrant

before installing or monitoring a hidden GPS device on the

exterior of a vehicle.14    See United States v. Marquez, 605 F.3d

604, 610 (8th Cir. 2010); Pineda-Moreno, 591 F.3d 1212 (9th Cir.

2010); Garcia, 474 F.3d 994 (7th Cir. 2007); McIver, 186 F.3d

1119 (9th Cir. 1999); United States v. Burton, 698 F. Supp. 2d

1303 (N.D. Fla. 2010); Morton v. Nassau County Police Dep’t, No.

05-CV-4000, 2007 WL 4264569 (E.D.N.Y. Nov. 27, 2007); United

States v. Moran, 349 F. Supp. 2d 425 (N.D.N.Y. 2005).         The most

recent federal case to address the issue, from the Court of

Appeals for the District of Columbia Circuit, came down while the

instant case was pending.     Maynard, 615 F.3d 544.      The court

broke from the Seventh, Eighth, and Ninth Circuits, ruling that

Knotts was not controlling, and held that the placement of a GPS

on the defendant’s car for four weeks was a search and thus

     14
       State courts have split as to whether the monitoring of a
GPS device constitutes a search under their respective state
constitutions. Several state supreme courts, including that of
Massachusetts, have ruled that the warrantless monitoring of GPS
devices violates their state constitutions. Commonwealth v.
Connolly, 454 Mass. 808 (2009); Weaver, 12 N.Y.3d 433; State v.
Jackson, 150 Wash. 2d 251 (2003); State v. Campbell, 306 Or. 157
(1988). But see Osburn v. State, 118 Nev. 323 (2002) (ruling
that attaching GPS to bumper of car was not an unreasonable
search). State constitutions, however, typically provide greater
protections than those required under the United States
Constitution. See Weaver, 12 N.Y.3d at 445; see also Herbert P.
Wilkins, Judicial Treatment of the Massachusetts Declaration of
Rights in Relation to Cognate Provisions of the United States
Constitution, 14 Suffolk U. L. Rev. 887 (1980).
                               23
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required a warrant under the Fourth Amendment.        Id. at 556-58,

563-65.

     One of the main rationales underlying the decision in

Maynard was that the use of the GPS device was continuous and

prolonged.   Id.   Although the FBI’s use of the GPS device in

monitoring Sparks was technically continuous, the surveillance of

Sparks is readily distinguishable from that which was declared

unconstitutional in Maynard.     In Maynard, the police installed a

GPS device and monitored the defendant twenty-four hours a day

for twenty-eight days.    Id. at 558.    Using the data, the

government was able to establish a pattern consistent with drug

trafficking.   Id. at 567.    In contrast, the FBI installed the GPS

device on Sparks's vehicle for eleven days and used the data to

locate the vehicle in order to initiate visual surveillance.            In

this respect, the use of the GPS device on Sparks's vehicle is

more akin to the use of the beeper in Knotts than that of the GPS

device in Maynard.

     The Supreme Court in Knotts expressly reserved the issue of

the constitutionality of twenty-four hour surveillance of private

citizens without judicial knowledge or supervision because the

“reality [of police practice] hardly suggests abuse.”         460 U.S. at

283 (quoting Zurcher v. Stanford Daily, 436 U.S. 547, 566

(1978)(internal quotation marks omitted)).       This Court is not

unsympathetic to the sentiment expressed by Chief Judge Kozinski

and his Ninth Circuit bretheren, that there is something “creepy”

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about continuous surveillance by the government.         United States v.

Pineda-Moreno, 617 F.3d 1120, 1126 (9th Cir. 2010) (denying

petition for rehearing en banc) (Kozinski, J., dissenting).              It

is, of course, easy to envision the worst-case Orwellian society,

where all citizens are monitored by the Big Brother government.15

It is simply unreasonable at this point, however, to conclude that

any government – municipal, state, or federal – has the resources,

or interest, to initiate personalized surveillance of every

citizen.16   What’s more, the type of “dragnet” law enforcement

practices postulated in Knotts, a quarter of a century ago, have

yet to materialize, and are certainly not at issue in this case.

       Whether and what kind of restrictions should, in the
       name of the Constitution, be placed on [mass]
       surveillance   when   used   in   routine   criminal
       enforcement are momentous issues that fortunately we
       need not try to resolve in this case. . . . Should

      15
        This is especially so in light of recent publicity
 surrounding the increased use of GPS devices by law enforcement.
 See, e.g., Mina Kim, FBI’s GPS Tracking Raises Privacy Concerns,
 National Public Radio, Oct. 27, 2010,
 http://www.npr.org/templates/story/story.php?storyId=130833487.
      16
        But, for examples of widespread government surveillance,
 see Protect America Act, 50 U.S.C.A. §§ 1805a to 1805c (2007)
 (allowing the government to conduct foreign intelligence
 surveillance on targets reasonably believed to be located outside
 the United States); Charlie Savage, U.S. Tries to Make it Easier
 to Wiretap the Internet, N.Y. Times, A1, Sept. 27, 2010
 (explaining a bill, proposed by the Obama administration, that
 would require all communications service providers – including
 BlackBerry and Facebook – to be technologically capable of
 complying with a wiretap order if served, much like telephone
 companies are required to do under the Communications Assistance
 to Law Enforcement Act, 47 U.S.C. 1001 to 1010 (1994)); James
 Risen & Eric Lichtblau, Bush Lets U.S. Spy on Callers Without
 Courts, N.Y. Times, A1, Dec. 16, 2005 (revealing the warrantless
 surveillance of hundreds, perhaps thousands, of people’s phone
 calls by order of President Bush).
                                 25
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      government someday decide to institute programs of
      mass surveillance of vehicular movements, it will be
      time enough to decide whether the Fourth Amendment
      should be interpreted to treat such surveillance as a
      search.

Garcia, 474 F.3d at 998.

III. CONCLUSION

     Today this Court must attempt to strike the balance between

the constitutional protections of personal privacy and the

ability of the government to protect the public through the use

of bourgeoning technology.    In the active pursuit of law

enforcement “[t]here is a tradeoff between security and privacy,

and often it favors security.”     Garcia, 474 F.3d at 998.      This is

not to say that the government should be permitted to stride,

unchecked, through this technological age, but rather that we

carefully must determine the point at which our Constitution

intervenes.   This Court takes heed of the Supreme Court’s recent

warning that “[t]he judiciary risks error by elaborating too

fully on the Fourth Amendment implications of emerging technology

before its role in society becomes clear.”       City of Ontario v.

Quon, 130 S. Ct. 2619, 2629 (2010).      Today’s decision reinforces

that, although we are not yet faced with police overreaching, it

may very well be near, and this Court and others will be keeping

vigilant watch.

     Here, the actions taken by the police were directed at

essentially public places and activities.       Sparks had neither a

subjective nor objectively reasonable expectation of privacy in

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the open air parking lot, the exterior of his car, or the

movement of his vehicle on public streets.       The government’s

ability to harness advanced technology to assist in effective law

enforcement does not change this constitutional analysis.         Given

the absence of any reasonable expectation of privacy by Sparks,

this Court must conclude that no warrant or other court order is

necessary to install or monitor the GPS.

     For these reasons, Sparks’s motion to suppress was DENIED

from the bench on September 22, 2010.




                                        /s/ William G. Young

                                          WILLIAM G. YOUNG
                                           DISTRICT JUDGE




                                   27
